ables + A lJ bOel
i CV- o2174- K- aT Document 3 Filed 09/30/22 Page1lof7 PagelD

 

* sqpoi43

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS 221 SLP 20 PH 22

DALLAS DIVISION
DEPUTY CLERK ______

 

‘TIANIKWA :HAYWOOD

AND
oo :CELESTINE
OWNERS
TEXAS REALATOR,
CEO OR OWNER
MACKIE, WOLF, ZIENTZ
MAN; P.C. LAW FIRM;
STANFORD & KURLAND
OWNER OF PENN YMAC

§ Civil Action No.
§
§
§
§
§
§
§
§
§
LOAN SERVICES, LLC; §
§
§
§
§
§
§
§
§
§
§

3-22cV¥2174-¢€

SONYA LUECHAUSER
CEO & PRESIDENT
DHI-MORTGAGE
COMPANY LTD.;

TIM NICHOLSON
VICE PRESIDENT
PENNYMACLOAN;
SANDRA NASEEF

DHS TITLE CoO.;

JOHN DOE; JANE DOE

 

LAWSUIT FOR DECEPTIVE TRADE PRACTICES, COMMON LAW FRAUD, FRAUD,
FRAUDULENT CONCEALMENT, RICO VIOLATIONS, DUE PROCESS, FAILURE OF
NOTICE, CIVIL RIGHTS ACT OF 1964, VOID CONTRACT, VOID LOAN
AGREEMENT, VOID SALE OF PROPERTY, CONSPIRACY CONSTRUCTION OF
EVIDENCE, TITLE 18 U.S. CODE § 241 CRIMINAL CONSPIRACY. EQUAL
PROTECTION OF LAW, FRAMING, VIOLATION OF TITLE 15 U.S. CODE § 1692(e),
TITLE 18 U.S. CODE § 1519, TITLE 18 U.S. CODE § 1001, TITLE 18 U.S. CODE § 371

 
Case 3:22-cv-02174-K-BT Document 3 Filed 09/30/22 Page2of7 PagelD6

JURISDICTION

STATE, FEDERAL AND MARITIME LAW, UNITED STATES CONSTITUTION, V.T. ANN
CONSTITUTION, UNITED STATES CONSTITUTION U.S.C.A. 14™ AMENDMENT, V.T.

CONSTITUTION ART. 1-10, 1-19, 1-29

 

COMES NOW, :Tianikwa :Haywood and :Paul-Douglas :Celestine, Pro-Se state that for
the knowledge of the consequences state the alleged contract, contract terms, and loan
agreements are void by facts that the Defendants used False - Communication - Sentence -

Structure - Parse Syntax - Grammar, or F.C.S.S.P.S.G.

For the Claimant’s knowledge of facts of the claim, the Defendants have violated the C-
S-S-C-P-S-G by the grammar and the framing or boxing of the loan agreement under Maritime
Law. Framing is illegal and void and it stops the conveyance of evidence in that it triggers fraud
and common law fraud. The conduct by the Defendants make :Tianikwa :Haywood both the
lender and borrower, thus, fraud being fraud in nature and by all of the Defendants working
together to complete the conspiracy of Title 18 U.S.C. § 1961-1968 Rico Act, that by the

Defendant’s conduct there was no bank sign of the fraudulent mortgage contract.

Due process of Law attaches to the notice in which was violated by the False-Parse-
Syntax-Grammar by the Defendants. The Plaintiff invokes now time under Maritime Law, in
which, truth and facts shall come before the court. The Plaintiffs have paid the fee to move the
vessel out of dry dock into the sea of space. This claim is being filed for the Defendants’ use of

fraudulent grammar in the contracts and loan agreement by the fraud of the Defendants. The
 

Case 3:22-cv-02174-K-BT Document 3 Filed 09/30/22 Page3of7 PagelD7

Plaintiff requests that all the documents be syntax with the correct sentence structure
communication parse syntax grammar which is constitutionally protected by due process of law

[U.S.C.A 14" Amend]. The use of boxing or framing of the loan agreement is void through the

For the claimant’s knowledge of facts of the claim of law, rules, codes, and regulation
with the C.S.S.C.P.S.G. of this court, the complete request by the Defendants own knowledge

violation of breaking the chain of evidence. The Plaintiff's bill or loan is 0, or void.
that the contract is void by the violation of C.S.S.C.P.S.G.

:Paul-Douglas :Celestine is a vassal or liege of the claim, subject or person regarded as
having a mutual obligation to a lord or monarch in the context of the feudal system in medieval
Europe. The obligation often included military support by knights in exchange for certain

privileges, usually including land held as a tenant.

FEDERAL COURT VENUE
MARTITIME LAW
AND

MARITIME COMMISSION

The Plaintiff has a legit right to 3222 Burgundy Lane, Midlothian, TX 76065. She has
lived there for over a year and under the Maritime Law of Salvage and the void nature of the
contract and loan agreement, no other party has the right to the residence. The 1-year moratorium

has passed. She is the Legal Trustee.

CLAIM
. Case 3:22-cv-02174-K-BT Document 3 Filed 09/30/22 Page4of7 PagelD8&

Thus, for the harm caused by the Defendants the Plaintiff is suing for $50,000,000.00
USD (Fifty million dollars). The post Office is over every vessel in the United States of America

and this honorable court has jurisdiction.

The Defendants have continued the fraud by the letters from Texas Realtor that F.P.S.G.
thus, the Plaintiff under the protection of due process of law under the 14" Amendment is

requesting that the C.S.S.C.P.S.G. as required under Maritime Law. Thank you.

1. Brooker v. Gould, supra 06-21-2012
2. Mehran Abazary of the Mehran: Afazary v. Andersen, Hilbert & Parker, supra,
Mar. 26,2012.
3. Borkholder v. PNC Bank, Nat'l Ass'n, Aug. 8 2012
4. Paet v. Hawaii — Mar. 16", 2012
5. Barte v. Porto, Mar. 30th, 2021
@ 6. Kaihma v. Dist. Court of the First Circuit, supra. Mar. 16th, 2012
PRAYER

Wherefore the Plaintiff prays for relief due to the injuries that have occurred.
Respectfully Submitted,
:Tianikwa :Haywood

Th pap ed * A sy 00 Date: 220 0ZL-__

St

:Paul-Douglas :Celestine

: Pe | - M0 ef CER/VIS Date: SC? “P-L

 
Case 3:22-cv-02174-K-BT Document3 Filed 09/30/22

CERTIFICATE OF SERVICE

No Bull Investments LLC
PO Box 413
Waxahachie, TX 75168

Mackie, Wolf, Zientz & Mann P.C.
Parkway Office Center, Suite 900
14160 Dallas Parkway

Dallas, Texas 75254

Pennymac Loan Services, LLC
P.O. Box 514387
Los Angeles, CA 90051-43007

DHI-Mortgage Company LTD
D.R. Horton INC.

6761 N. Freeway, Suite B
Fort Worth, TX 76131

Tin Nicholson

Executive Vice President
Penny Mac Loan Services, LLC
Moorpark, CA 92021

Sandra Naseef

DHI-Title

6761 N. Freeway, Suite B
Fort Worth, TX 76131

DAI Mortgage Company LTD
DHI Title of Texas, LTD

Page 5of7 PagelD9

 
Case 3:22-cv-02174-K-BT Document 3 Filed 09/30/22 Page6of7 PagelD 10

CERTIFICATE OF SERVICE
COURT
United States District Court
1100 Commerce Street Room 1400

Dallas, TX 75242

Trnwikea t Hayeie
PLAL Bonydf Can

Jd fot jen , Te 76 ©

 
Case 3:22-cv-02174-K-BT Document 3 Filed 09/30/22 Page 7of7 PagelD 11

H.R. Horton Insurance Agency, INC.
Moorpark, CA 92021

:Tianikwa :Haywood
